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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

JANE DOE #1, et al                                    CIVIL ACTION NO.
                                                      3:21-cv-564-SDD-SDJ
                                                      c/w 3:21-cv-647-SDD-SDJ

VERSUS                                                JUDGE SHELLY D. DICK

BOARD OF SUPERVISORS OF                   MAGISTRATE JUDGE SCOTT D.
LOUISIANA STATE UNIVERSITY                JOHNSON
AGRICULTURAL AND
MECHANICAL COLLEGE, et al
______________________________________________________________________________

   JOINT MOTION TO CONTINUE UNEXPIRED DEADLINES AND TRIAL DATE


       NOW INTO COURT, through undersigned counsel, come Plaintiffs, Jane Does #1 – #6,

and Defendants, the Board of Supervisors of Louisiana State University and Agricultural and

Mechanical College, Troy Blanchard, Jennifer Normand, Lindsay Madatic, Jennie Stewart and

Dr. Adelaide Russo, (collectively “the parties”), and respectfully move this Court to continue the

unexpired deadlines in this matter. In support of this motion, the parties state as follows:

                                                 1.

       Pursuant to this Court’s current Scheduling Order (R. Doc. 27) the current deadlines are:

           •   Plaintiffs’ Expert Disclosure Deadline: August 16, 2022;

           •   Fact Discovery Deadline: September 15, 2022;

           •   Defendants’ Expert Disclosure Deadline: September 15, 2022;

           •   Plaintiffs’ Expert Report Deadline: September 26, 2022;

           •   Defendants’ Expert Report Deadline: October 17, 2022;

           •   Expert Discovery Deadline: November 4, 2022;
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           •   Dispositive and Daubert Motion Deadline: November 15, 2022;

           •   Pre-trial Order Deadline: May 9, 2023;

           •   Motion in Limine Deadline: May 15, 2023;

           •   Affidavit of Settlement Efforts: April 24, 2023;

           •   Pre-trial Conference: May 23, 2023 at 2:30;

           •   Deadline to File Proposed Findings of Fact and Conclusions of Law: May 15, 2023;

               and

           •   Jury Trial: June 5, 2023.

                                                 2.

       The parties have been cooperative thus far in discovery. All parties have exchanged

written discovery. The parties have also discussed scheduling depositions for the numerous

depositions in the case.

                                                 3.

       Plaintiffs and the Board have conferred regarding the timing and exchange of written

discovery responses, document production, and depositions and do not believe completion of fact

discovery is feasible between now and September 15, 2022, which is less than six weeks away.

Specifically, given the number of parties and claims in the case, the parties anticipate that there

will be at least twelve depositions with the potential for more depending on the testimony

elicited. Due to prior scheduling conflicts of plaintiffs’ counsel during the months of August and

September, it will be difficult, if not impossible, to schedule all depositions and complete

discovery in the short time remaining.




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                                                 4.

        The parties have evaluated the remaining deadlines in the case and desire an extension of

the unexpired deadlines, including the trial date, to facilitate full and complete discovery and

motion practice. Specifically, the parties desire to advance further in written/document

discovery so that the necessary third-party records may be obtained, and witnesses have the

benefit of reviewing the documents prior to depositions. Therefore, the parties respectfully seek

a continuance of the fact discovery and other unexpired deadlines to facilitate written discovery,

document production, and depositions.

                                                 5.

        All parties consent to the requested continuance of the unexpired deadlines, including the

trial date.

        WHEREFORE, the parties pray that this motion be granted, continuing all unexpired

deadlines including the trial date. The parties also respectfully request that a scheduling

conference be set to select a new trial date.



                                                       Respectfully submitted,

                                                      MILDRED E. METHVIN, LLC
                                                  BY: /s/ Mildred E. Methvin
                                                      Mildred E. Methvin (#14619) T.A.
                                                      7414 Sardonyx St.
                                                      New Orleans, LA 70124
                                                      T: 337-501-1055
                                                      F: 888-298-0566
                                                      Email: memethvin@gmail.com

                                                      DOMENGEAUX WRIGHT ROY &
                                                      EDWARDS, LLC
                                                  BY: /s/ Elwood C. Stevens, Jr.
                                                      Elwood C. Stevens, Jr. (#12459)

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                                                      Jefferson Towers, Suite 500
                                                      556 Jefferson Street
                                                      Lafayette, LA 70501
                                                      T: 337-233-3033
                                                      F: 337-232-8213
                                                      Email: elwoods@wrightroy.com



                                   CERTIFICATE OF SERVICE

       I hereby certify that on August, 8, 2022, the foregoing was filed in CM/ECF which sends

electronic notice to all counsel of record.

                                       s/ Mildred E. Methvin
                                       Mildred E. Methvin




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